IN THE COURT OF COMMON PLEAS OF WESTMORELAND
COUNTY, PENNSYLVANIA
» CIVIL ACTION — CIVIL

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Plaintiff,

Versus Case No. \+ CA \ 04 BS b
Loe Suc.

 

 

Defendant

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ENTRY OF APPEARAN cE PURSUANT TO PA.R.C.P. 1930.8 |

J Sa nn Qny dears enter my appearance on behalf of (plaintiff) (defendant) and

(please circle one)
direct that pursuant To PA. R.C.P. No.: 1930.8, I may be contacted at

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Number, Street, and Apartment Number (if any)

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T understand that I must supply a copy of this Entry of Appearance to all other parties or

attorneys. I further understand that I must contact the Court should any of the above
information change.

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